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  General Litigation Division                              EMAIL: Todd.Dickerson@oag.texas.gov
                                            April 23, 2021
  Via ECF

  The Honorable Judge Sean Jordan
  Paul Brown United States Courthouse
  101 East Pecan Street Room 216
  Sherman, Texas 75090

  Re:    Nathaniel Hiers v. The Board of Regents of the University of North Texas System, et al., Case
         No. 4:20-cv-321-SDJ (E.D. Tex.)
  Dear Judge Jordan:
          Please be advised that the undersigned counsel for Defendants will be on FMLA leave
  from on or around April 23, 2021 through on or around June 8, 2021. I respectfully request
  that no hearings, conferences, trial, other court appearances, or deadlines be scheduled during
  this period. I would also request that no discovery be propounded during this period.
         Thank you for your courtesy and consideration in this matter.


                                                     Sincerely,



                                                     Todd Dickerson
                                                     Assistant Attorney General
                                                     General Litigation Division


  CC: Via Email and ECF
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